                             IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TENNESSEE


NANCY PLUNK                                   )
                                              )
         Plaintiff,                           )
                                              )
v.                                            )      Case No. 1:23-cv-1058
                                              )
SHELTER MUTUAL INSURANCE                      )      JURY DEMAND
COMPANY, JOHN PRICE, VCE, INC.,               )
and JASON PIRTLE                              )
                                              )
         Defendants.                          )
                                              )

                                     NOTICE OF REMOVAL

         Comes now the Defendant, Shelter Mutual Insurance Company (“Shelter”), by and

through counsel, pursuant to 28 U.S.C. § 1441 and, 28 U.S.C. § 1332 and hereby gives

notice of removal from the Circuit Court of Madison County, Tennessee, to the United States

District Court for the Western District of Tennessee, Eastern Division at Jackson, alleging

as follows:

         1.       On March 7, 2023, the Plaintiff, Nancy Plunk, filed suit against Shelter in the

Circuit Court for Madison County, Tennessee, where said action is now pending under Case

No. CT-23-54.

         2.       On March 14, 2023, Shelter was served with a summons and a copy of the

complaint through the Tennessee Department of Commerce and Insurance. A copy of the

summons and complaint is attached as Exhibit 1.

         3.       No further proceedings have been had at the Circuit Court of Madison County,

Tennessee.




SH Plunk Not Rem of Civ Act 230404
         4.       Defendant John Price is an insurance adjuster for Shelter, and all the claims

raised against him in the Complaint stem from his action during the course and scope of his

employment as an insurance adjuster for Shelter. This Court in Sainaam Inc. v. Am. Nat’l

Prop. & Cas. Co., confirmed that “it is well-settled in Tennessee that an insurance agent is

not personally liable on an insurance contract formed while the agent was acting within the

scope of the agency relationship, and, as here, the contracting parties understood that the

agent was acting on behalf of a principal insurance company.” No. 08-1149, 2008 U.S. Dist.

LEXIS 70071, at 10-12 (W.D. Tenn., 2008) (citing Holt v. American Progressive Life Ins.

Co., 731 S.W.2d at 925 (Tenn. Ct. App. 1987)). A party is fraudulently joined when “no

colorable cause of action” exists against it. Faith Deliverance Ctr. v. S. Mut. Church Ins. Co.,

No. 14-1183, 2014 U.S. Dist. LEXIS 187546, at 5 (W.D. Tenn., 2014). Though he is a citizen

of Tennessee, Plaintiffs have fraudulently joined Defendant Price in attempts to

circumnavigate jurisdiction of this Court.

         5.       Defendant, VCE, Inc. is a forensic engineering company in Tennessee that

Plaintiff alleges made, through their engineer and co-defendant, Jason Pirtle, statements in

a report that are misrepresentations in violation of Tenn. Code Ann. § 56-53-103. Tenn.

Code Ann. § 56-53-103 states, in relevant part:

                  (a) Any person who commits, participates in, or aids, abets, or
                  conspires to commit, or solicits another person to commit, or permits
                  its employees or its agents to commit any of the following acts with an
                  intent to induce reliance, has committed an unlawful insurance act:

                  (1) Presents, causes to be presented, or prepares with knowledge or
                  belief that it will be presented, by or on behalf of an insured, claimant
                  or applicant to an insurer, insurance professional or a premium finance
                  company in connection with an insurance transaction or premium
                  finance transaction, any information that the person knows to contain
                  false representations, or representations the falsity of which the person




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                  has recklessly disregarded, as to any material fact, or that withholds or
                  conceals a material fact, concerning any of the following:

                  (A) The application for, rating of, or renewal of, any insurance policy;
                  (B) A claim for payment or benefit pursuant to any insurance policy;
                  (C) Payments made in accordance with the terms of any insurance
                  policy; or
                  (D) The application for the financing of any insurance premium;

A plain reading of this statute makes clear that the intent of this statute is to protect insurance

carriers against insurance fraud. Specifically, “[t]he legislature finds that insurance fraud is

pervasive and expensive, costing consumers and the business community of this state

millions of dollars each year. Each family spends in excess of several hundreds of dollars

each year in direct and indirect costs attributable to insurance fraud. Insurance fraud

increases premiums, places businesses at risk and is a leading cause of insurance company

insolvencies.” 2001 Tenn. ALS 356, 2001 Tenn. Pub. Acts 356, 2001 Tenn. Pub. Ch. 356,

2001 Tenn. SB 1499.

         6.       Though Defendants, VCE, Inc. and Jason Pirtle, may be citizens of

Tennessee, Plaintiffs have fraudulently joined these Defendant in attempts to

circumnavigate jurisdiction of this Court. Based on the allegations in the Complaint and the

statements above, Plaintiff have “no colorable cause of action” against Defendants, VCE,

Inc. and Jason Pirtle under Tenn. Code Ann. § 56-53-103.

         7.       This lawsuit involves the purported liability on the part of Shelter, and the other

fraudulently joined defendants, under a policy of insurance issued to plaintiff. Plaintiff

contends that Shelter has breached the policy in not complying with the appraisal provision

and by not paid all benefits due and owing under the policy. Plaintiff also seeks damages

pursuant to Tennessee Code Annotated §56-7-103, pre-judgment and post-judgment




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interest, and attorney’s fees. The amounts sought by plaintiffs against Defendants is “no

less than three million dollars and punitive damages no less than six million dollars.”

         8.       Jurisdiction exists pursuant to this Court’s diversity jurisdiction under 28

U.S.C. § 1332 as the properly joined Defendant, Shelter, is a citizen of Missouri and the

Plaintiff is a citizen of Tennessee, and the amount in controversy exceeds the Seventy-Five

Thousand Dollars ($75,000.00) exclusive of interest and costs. Therefore, removal of this

Court and Division is proper, pursuant to 28 U.S.C. § 1441.

         Wherefore, Shelter hereby removes the above-captioned case from the Circuit Court

of Madison County, Tennessee, to the United States District Court for the Western District

of Tennessee, Eastern Division at Jackson as provided by law, and will proceed with this

action as if it has been originally commenced in this Court.


                                      Respectfully submitted,


                                      ___/s E. Jason Ferrell__________________________
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                                      Attorneys for Shelter Mutual Insurance Company




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                                     CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of April, 2023, a true and correct copy of the
foregoing has been sent, via first-class mail, postage prepaid to:

Drayton Berkley, Esq.
The Berkley Law Firm, PLLC
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Attorney for Plaintiff

                                        ___/s E. Jason Ferrell__________________________
                                        E. JASON FERRELL




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